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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION


KATIA HILLS,

                   Plaintiff,                            Civil No.: 3:17-cv-00556-JD-MGG

       -against-

AT&T MOBILITY SERVICES LLC a/k/a
AT&T MOBILITY LLC,

                   Defendant.


         PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR LEAVE
                  TO SUBMIT SUPPLEMENTAL AUTHORITY

       Plaintiff Katia Hills (“Plaintiff”) submits this response to Defendant AT&T Mobility

Services LLC’s (“AT&T”) Motion for Leave to Submit Supplemental Authority, ECF No. 159

(hereinafter, “Def.’s Motion for Leave”). Plaintiff does not oppose AT&T’s Motion for Leave,

given that the Seventh Circuit’s ruling in Equal Employment Opportunity Commission v. Wal-

Mart Stores East, L.P., No. 21-1690, 2022 WL 3365083 (7th Cir. Aug. 16, 2022), concerns, as

this case does, the application of Young v. United Parcel Service, Inc., 575 U.S. 206 (2015), to a

failure-to-accommodate claim under clause two of the Pregnancy Discrimination Act (“PDA”).

       But AT&T’s confidence that Wal-Mart undermines Plaintiff’s Motion for Partial

Summary Judgment, ECF No. 140, is misplaced. Indeed, the Seventh Circuit’s ruling supports

Plaintiff in a critical respect – namely, by confirming the type and quantum of evidence that will

show pretext in a PDA failure-to-accommodate case. While the Seventh Circuit found the

evidence before it sufficient to deny pretext and uphold summary judgment for the employer, its
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reasoning only confirms that the record evidence in this case supports a finding for Plaintiff.

AT&T’s policy of expressly privileging roughly a dozen categories of absence, while only

excusing a few categories of pregnancy-related absence – for which Plaintiff was categorically

ineligible during the relevant time period covered by her pending Motion – is squarely analogous

to UPS’s policy found impermissible by the Supreme Court in Young, and plainly distinguishable

from Wal-Mart’s policy found acceptable by the Seventh Circuit.

       As to the legal standard adopted by the Seventh Circuit concerning a defendant’s burden

of production at step two of Young’s PDA framework, while Plaintiff disagrees with that aspect

of the decision, 1 the court’s ultimate conclusion – that Wal-Mart carried its burden – does not

assist AT&T. The court’s decision rested on Wal-Mart’s having put forward numerous policy

and economic justifications for limiting guaranteed light duty work to one category of employees

– those hurt on the job – both in the text of the light duty policy itself and submitted in a

corporate witness’s sworn declaration. Wal-Mart, 2022 WL 3365083, at *4-5, ECF No. 159-1 at

5. Here, in contrast, AT&T has provided no justification for automatically deeming as “excused”

multiple categories of worker absences that are unrelated to pregnancy. See generally Def.’s

Mem. in Opp’n to Pl.’s Mot. for Partial Summ. J., ECF No. 150 (hereinafter, “Def.’s Opp.

Mem.”); see also Pl.’s Reply Mem. Supp. Mot. for Partial Summ. J., ECF No. 151 (hereinafter,

“Pl.’s Reply Mem.”), at 14.




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  Should the Court believe that more detailed briefing about the Seventh Circuit’s decision would
assist in deciding Plaintiff’s pending Motion, Plaintiff would welcome the opportunity to provide
it.
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       The other portion of the Wal-Mart opinion on which AT&T relies, inaptly, concerns the

determination of how and whether a PDA plaintiff makes a showing of pretext at step three of

the Young framework. Notably, the Seventh Circuit’s articulation of the applicable legal standard

matches Plaintiff’s. Wal-Mart, 2022 WL 3365083, at *6, ECF No. 159-1 at 6-7, quoting Young,

575 U.S. at 229 (internal quotation omitted) (“At step three, the burden shifts back to the

[plaintiff] to ‘provid[e] sufficient evidence that the employer's policies impose a significant

burden on pregnant workers, and that the employer's “legitimate, nondiscriminatory” reasons are

not sufficiently strong to justify the burden, but rather – when considered along with the burden

imposed – give rise to an inference of intentional discrimination.’”); Pl.’s Mem. Supp. Mot.

Partial Summ. J., ECF No. 141 at 2 (same). The court further notes Young’s guidance that one

route for a plaintiff to prove an impermissible “significant burden” on pregnant workers is to

“provid[e] evidence that the employer accommodates a large percentage of nonpregnant workers

while failing to accommodate a large percentage of pregnant workers,” Wal-Mart, 2022 WL

3365083, at *7, ECF No. 159-1 at 7 (internal citation omitted).

       Applying those standards, the Seventh Circuit found that, because Wal-Mart privileged

just one category of non-pregnant workers, the EEOC had failed to show a “significant burden”

under Young. Id. at *6-7, ECF No. 159-1 at 7. Application of the same standards to AT&T’s

policy, however, leads to the opposite result, as they did when applied to UPS’s. 2


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  At no point has Plaintiff contested, as AT&T claims, that “Young relieved her of the
requirement to present evidence of comparators who were similar in the ability or inability to
work.” AT&T’s Motion for Leave, ECF No. 159 at 3. Plaintiff contends that where a policy
expressly favors some categories of non-pregnant workers “similar in their ability or inability to
work” while expressly excluding categories of pregnant workers, as AT&T’s policy does, she is
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DATED: August 19, 2022                               Respectfully submitted,
                                                    /s/ Gillian Thomas
                                                    Gillian Thomas*
                                                    American Civil Liberties Union
                                                    Women’s Rights Project
                                                    125 Broad Street, 18th Floor
                                                    New York, NY 10004
                                                    Tel: (212) 284-7356
                                                    gthomas@aclu.org

                                                    Lynn A. Toops, No. 26386-49
                                                    Lisa LaFornara, No. 35280-53
                                                    Cohen & Malad LLP
                                                    One Indiana Sq. Ste. 1400
                                                    Indianapolis, IN 46204
                                                    Tel: (317) 636-6481
                                                    ltoops@cohenandmalad.com
                                                    llafornara@cohenandmalad.com




not required to identify specific individual comparators who benefited from that policy. See Pl.’s
Reply Mem., at 11-12. The Seventh Circuit’s ruling supports Plaintiff’s position, as does Young.
See, e.g., Wal-Mart, 2022 WL 3365083, at *6, ECF No. 159-1 at 7 (“Here, the differences
between Walmart’s TAD Policy and the employer’s multiple policies in Young defeat the
EEOC’s theory of discrimination.”). (Emphasis added.); Wal-Mart, 2022 WL 3365083, at *6,
ECF No. 159-1 at 7 (“The Court vacated summary judgment for UPS . . . because it provided
accommodations under multiple policies to several other groups of workers with lifting
restrictions who were similar to [plaintiff] in their ability or inability to work.”) (Emphasis
added.)
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                                       Joseph M. Sellers*
                                       Kalpana Kotagal*
                                       Harini Srinivasan*
                                       Cohen Milstein Sellers & Toll PLLC
                                       1100 New York Ave., Suite 500
                                       Washington, DC 20005
                                       Tel: (202) 408-4600
                                       jsellers@cohenmilstein.com
                                       kkotagal@cohenmilstein.com
                                       hsrinivasan@cohenmilstein.com

                                       Counsel for Plaintiff Katia Hills

                                       *Admitted pro hac vice




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 19, 2022, I caused the foregoing Plaintiff’s Response to

Defendant’s Motion for Leave to Submit Supplemental Authority to be electronically filed with

the Clerk of the Court using the CM/ECF system, which will automatically send e-mail

notification of such filing to all attorneys of record.



                                                /s/ Gillian Thomas
                                                Gillian Thomas
